Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 1 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 2 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 3 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 4 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 5 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 6 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 7 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 8 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                         Document Page 9 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 10 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 11 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 12 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 13 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 14 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 15 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 16 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 17 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 18 of 19
Case:21-00085-EAG Doc#:1 Filed:08/18/21 Entered:08/18/21 12:52:30   Desc: Main
                        Document Page 19 of 19
